                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

Floyd Eck and Bonnie Eck,                             )
                                                      )     Case No.:
                                                      )
                              Plaintiffs,             )
                                                      )
v.                                                    )     Racine County Circuit Court
                                                      )     Case No. 2020-CV-1482
State Farm Fire and Casualty Company,                 )
                                                      )
                              Defendant.              )



                                   NOTICE OF REMOVAL


TO:    CLERK OF THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF WISCONSIN

       PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441 & 1446, Defendant

State Farm Fire and Casualty Company (“State Farm”) hereby removes the action captioned Floyd

Eck and Bonnie Eck v. State Farm Fire and Casualty Company, pending as Case No. 2020-CV-

1486 in the Circuit Court of Racine County, Wisconsin (“the State Court Action”) to the United

States District Court for the Eastern District of Wisconsin and hereby states the following grounds

for removal:

       1.       On December 17, 2020, Plaintiffs Floyd Eck and Bonnie Eck (“Plaintiffs”)

commenced the State Court Action. The Complaint asserts claims against State Farm for Breach

of Contract and Bad Faith. A true and correct copy of the Complaint filed in the State Court Action

is attached hereto as Exhibit A.

       2.       State Farm, through its registered agent, received the Summons and Complaint in

the State Court Action on December 22, 2020. Thus, this notice is timely pursuant to 28 U.S.C. §

1446(b).
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       3.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because it

is a civil action between citizens of different states and the matter in controversy exceeds the sum

of $75,000 based on the following:

             a. In the Complaint, Plaintiffs allege that State Farm breached its contract with
                Plaintiffs and that Plaintiffs have been damaged and will continue to suffer damages
                “[a]s a direct and proximate result of State Farm’s breach.” (Compl. at ¶ 55.)

             b. In the Complaint, Plaintiffs allege that State Farm breached the implied covenant
                of good faith and fair dealing on multiple bases and seek has committed bad faith
                and seek compensatory and punitive damages from State Farm (Id. ¶¶ 56-60.)

       4.       According to the Complaint, Plaintiffs are individuals and residents of the State of

Wisconsin. (Id. ¶ 1.)

       5.       State Farm is a foreign insurance company that maintains its principal place of

business in Bloomington, Illinois. (Id. at ¶ 2.)

       6.       No party in interest properly joined and served as defendant is a citizen of

Wisconsin. Accordingly, this action may be removed from state court pursuant to 28 U.S.C.

§1441(b).

       7.       Under 28 U.S.C. § 1441(a), the State Court Action may be removed to the United

States District Court for the Eastern District of Wisconsin because it is the United States District

Court for the district and division embracing the place where the State Court Action is pending.

       8.       A copy of this Notice of Removal is being filed with the Clerk of the Circuit Court

of Racine County, Wisconsin and is being served on counsel for Plaintiffs. See U.S.C. § 1446 (a)

and (d). The Circuit Court of Racine County, Wisconsin, is located within the jurisdiction of this

Court. A copy of the Notice of Filing of Notice of Removal to be filed in the State Court Action

is attached hereto as Exhibit B.




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       9.       State Farm submits this Notice of Removal without waiving any defenses to the

claims asserted by Plaintiffs or conceding that Plaintiffs have pled claims upon which relief may

be granted.

       10.      State Farm reserves the right to amend or supplement this Notice.

       WHEREFORE, Defendant State Farm Fire and Casualty Company hereby removes the

State Court Action to this Court.

       Dated this 22nd day of January 2021.

                                              MEISSNER TIERNEY FISHER & NICHOLS S.C.

                                              By: /s/Mark D. Malloy
                                                 Mark D. Malloy
                                                 State Bar No: 1035066
                                                 mdm@mtfn.com
                                                 Steven L. Miracle
                                                 State Bar No: 1089913
                                                 slm@mtfn.com
                                                 Attorneys for Defendant,
                                                 State Farm Fire and Casualty Company

Mailing Address:
111 E. Kilbourn Avenue, 19th Floor
Milwaukee, WI 53202
Phone: 414-273-1300
Fax: 414-273-5840




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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN

Floyd Eck and Bonnie Eck,                             )
                                                      )    Case No.:
                                                      )
                              Plaintiffs,             )
                                                      )
v.                                                    )    Racine County Circuit Court
                                                      )    Case No. 2020-CV-1482
State Farm Fire and Casualty Company,                 )
                                                      )
                              Defendant.              )



                                CERTIFICATE OF SERVICE


       I, hereby certify that on January 22, 2021, a copy of the foregoing Notice of Removal

was filed electronically suing the Court’s CM/ECF System. I also caused a copy of the

foregoing Notice of Removal to be filed with a Notice of Filing via Wisconsin’s Circuit Court e-

filing system and served via facsimile transmission to:

                              Joshua M. Greatsinger
                              Mayer, Graff, & Wallace LLP
                              1425 Memorial Drive
                              Manitowoc, WI 54220
                              FAX: 1-800-465-1031

       Dated this 22nd day of January 2021.

                                              MEISSNER TIERNEY FISHER & NICHOLS S.C.

                                              By: /s/Mark D. Malloy
                                                 Mark D. Malloy
                                                 State Bar No: 1035066
                                                 mdm@mtfn.com
                                                 Steven L. Miracle
                                                 State Bar No: 1089913
                                                 slm@mtfn.com
                                                 Attorneys for Defendant,
                                                 State Farm Fire and Casualty Company
                                                4
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Mailing Address:
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Fax: 414-273-5840




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       EXHIBIT A




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                                                                                        FII_ED
                                                                                        12-17-2020
                                                                                        Clerk of Circuit Court
                                                                                        Racine County
STATE OF WISCONSIN               CIRCUIT COURT           RACINE COUNTY                  2020CV001482
                                                                                        Honorable Eugene A.
                                                                                        Gasiorkiewicz
FLOYD ECK and BONNIE ECK,
                                                                                        Branch 2
3407 North Main Street
Racine, Wisconsin 53402,

                                           Plaintiffs,
v
                                                                      Case No. 20-CV-
STATE FARM FIRE AND CASUALTY COMPANY,                                 Case Code 30303
One State Farm Plaza
Bloomington, Illinois 61710,                                             SLH SeMces
c/o Registered Agent Corporation Service Company
8040 Excelsior Drive, Suite 400           /
Madison, Wisconsin 53717,
                                                              Date~Z— Z Z— ZO Ti m+e~~: ZS           e4~Nl,
                                           Defendant.


                                             SUMMONS


THE STATE OF WISCONSIN

TO EACH PERSON NAMED ABOVE AS A DEFENDANT:

          You are hereby notified that the Plaintiffs above named have filed a lawsuit or other legal

action against you. The Complaint, which is attached, states the nature and basis of the legal

action.

          Within forty-five (45) days after receiving this Summons, you must respond to the

Complaint with a written answer, as that term is used in Chapter 802 of the Wisconsin Statutes.

The court may reject or disregard an answer that does not follow the requirements of the statutes.

The answer must be sent or delivered to the court, whose address is 730 Wisconsin Avenue,

Racine, WI 53403 and to MAYER, GRAFF &. WALLACE, LLP Plaintiffs' attorneys whose




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        mailing address is 1425 Memorial Drive, Suite B, Manitowoc, WI 54220. You may have an

        attorney help or represent you.

                If you do not provide a proper answer within forty-five (45) days, the court may grant

        judgment against you for the award of money or other legal action requested in the Complaint,

        ana you may lose your right to object to anything that is or may be incorrect in the Complaint. A

        judgment may be enforcea as proviaecl by law. A juagment awarcling money may become a lien

        against any real estate you own now or in the future, and may also be enforced by garnishment or

        seizure of property.

                Dated this 17`h day of Decetnber, 2020.

                                              MAYER, GRAFF &. WALLACE LLP


                                              :      s/ Joshua M. Greatsinger
                                                     Joshua M. Greatsinger, SBN: 1094313
                                                     Attorneys for Plaintiffs Floyd anci Bonnie Eck
        Mailing Address
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STATE OF WISCONSIN               CIRCUIT COURT            RACINE COUNTY           I

FLOYD ECK and BONNIE ECK,
3407 North Main Street
Racine, Wisconsin 53402,

                                            Plaintiffs,
u
                                                                        Case No. 20-CV-
STATE FARM FIRE AND CASUALTY COMPANY,                                   Case Code 30303
One State Farm Plaza
Blooinington, Illinois 61710,
c/o Registered Agent Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, Wisconsin 53717,

                                            Defendant.


                                             COMPLAINT


         Plaintiffs Floyd and Bonnie Eck, by their attorneys, Mayer, Graff & Wallace LLP, allege

and show to the Court as follows:

                                                PARTIES

         1.       Tlie plaintiffs, Floyd and Bonnie Eck, are and were at all relevant times spouses and

adult citizens of the State of Wisconsin residing at 3407 North Main Street, Racine, Wisconsin

53402.

         2.       The defendant, State Farm Fire and Casualty Company ("State Far.m"), is and was

at all relevant times a foreign insurance corporation with its principal place of business located at

One State Farm Plaza, Bloomington, Illinois 61710; and qualified and registered to do business in

the State of Wisconsin with a registered agent for service of process identified as Corporation

Service Company, 8040 Excelsior Drive, Suite 400, Madison, Wisconsin 53717.




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           3.       At all relevant times, the Ecks owned the residential property located at 3407

    North Main Street, Racine, Wisconsin 53402 (the "property" or "residence").

           4.       At all relevant times, State Farm issued a Homeowners Insurance I'olicy to the Ecks

    that provided coverage for, among other things, damage to their properry consistent with the terms

    and conditions.

                                       JURISDICTION 6z VENUE

           5.       The underlying claim which is the basis for the Ecks' Complaint arose out of

    damage to the property as a result of a storm on or about July 2, 2019 in which multiple trees fell

    on the property.

           6.       Jurisdiction is proper because this action centers around an insurance claim for

    damage to real and personal property situated in Wisconsin.

           7.       Venue is proper because this action centers around an insurance claim for damage

    to real and personal proper.ty in Racine County, Wisconsin.

                                       GENERAL ALLEGATIONS

           8.       On or about July 2, 2019, a significant storm or weather event occurred on and

    around the Ecks' property.

           9.       As a result of the storm, inultiple trees on or near the Ecks' property were felled

    and, on at least one occasion, landed on the Ecks' residence causing substantial damage to the roof

    and interior.

           10.      The above-described occurrence and resulting damages are and were covered

    pursuant to State Farm's policy.




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           11.        The Ecks were and are displaced from their residence as a result of the above-

    described occurrence and resulting damages and will remain so until the necessary repairs are

    completed.

           12.        Following the above-described occurrence, the Ecks' promptly notified State Farm

    of the damage and submitted an insurance claim for the repairs.

           13.        The Ecks obtained invoices and solicited bids from mitigation and roofing

    contractors to support their insurarice claim with additional amounts for the interior damages to

    be determined.

           14.        State Farm made payments for less than the incurred and supported amounts.

           15.        The Ecks subsequently retained a public adjuster, Miller Public Adjusters ("MPA"),

    to assist them with their insurance claim.

           16.        On or about January 17, 2020, MPA advised State Farm of its involvement and

    requested a certified copy of the insurance policy and the claim adjuster's contact information to

    discuss and continue the claim.

           17.        On or around January 24, 2020, almost seven tnonths after State Farm received

    notice of the claim, State Farm prepared an estiinate for the dainages.

           18.        At that tiine, State Farm estimated the total value of the loss at $83,534.44 in

    replacement cost value ("RCV") and $68,807.38 in actual cash value ("ACV"), including

    $75,840.95 RCV for roof and interior repairs, $1,000 for tree and debris removal, and $6,693.49

    for mitigation.




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           19.     Over the next several months, MPA atteinpted to contact State Farm's claim

    adjuster to confirm their involvement, discuss the status of State Farm's investigation, and identify

    additional amounts necessary to repair the Ecks' residence.

           20.     During this time, State Farni was not responsive and made little or no effort to

    advance its investigation and payment of the claim.

           21.     In the meantime, MPA solicited bids from contractors and subcontractors for

    amounts necessary to repair the Ecks' residence and obtained an opinion from an architect on

    building code compliance issues.

           22.     On or about April 3, 2020, MPA submitted to State Farm a copy of .the MPA

    estimate with contractor and subcontractor proposals and the arch.itect's report in order to support

    a claim payment of $206,789.76, including $185,068.48 for the interior and exterior damages to

    the residence, $5,280.00 for additional damage to other strttctures, and $16,423.28 for damage to

    personal property or contents.

           23.     One of the key differences between State Farm's estimate and MPA's estitnate was

    MPA's inclusion of expenses for the removal of additional interior ceiling drywall or plaster,

    retnoval of a radiant heating systern in the ceiling cavity, and replacement of insulation consistent

    with applicable building codes and to ensure that proper R-values and clearances from the radiant

    heating system were inaintained.

           24.     This was an important issue to determine the value of the Ecks' claim because the

    policy provided, among other things:

                   we will pay the increased cost of replacing, rebuilding or repairing
                   any buildrngg structure or other structure in accordance with the
                   minimum code in force at the time of loss as required by state or




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               local authorities, when the loss or damage is caused by a loss
               insured.

       25.     On or about April 23, 2020, State Farm advised it was in the process of requesting

an opinion from an engineer to address the building code issues and also advised for the first time

"[t]here is a question as to whether this Coinpany is obligated to provide coverage to anyone[.]"

       26.     More than a month later (nearly one year after the loss), on June 1, 2020, State

Farm denied payment consistent with the MPA estiinate based on the conclusions of its engineer

and his purported discussion with a City of Racine Building Inspector who advised there were no

building code compliance issues. State Farm further acknowledged it was still investigating the

"specific electrical components that were directly exposed to water frorn the tree impact."

       27.     Notably, when communicating with the City of Racine Building Inspector, State

Farm's engineer compared the Ecks' situation to one where a person was re-roofing a shingle roof

which ordinarily wuld not require that the attic insulation be upgraded.

       28.      On June 5, 2020, MPA provided State Farm with an email from the City of Racine

Building Inspector discussing the Ecks' property, stating, "This etnail is to confirm that the

ceiling/roof insultation that is being reinoved that does not Lneet current code must he hrought

up to current code once reinoved." (emphasis added).

        29.    State Farin rejected MPA's request for a joint inspection of the residence to resolve

disagreements about the scope of the work, repair amounts, and building code issues consistent

with the direction given by the City of Racine Building Inspector or as supported by the MPA

estimate and other docurnents subanitted to State Farm.

       30.     Rather than oblige MPA's request for a joint inspection or arrange an inspection

with the City of Racine Building Inspector to resolve the building code cornpliance issues, State



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Farm's engineer discussed these issues with the City of Racine Building Inspector a second time

and this time likened the situation to one where a person was replacing wet insulation which

ordinarily would not require the insulation be upgraded.

        31.     On or about June 19, 2020, State Farm advised MPA of its position that building

code upgrades for the insulation were not necessary and that it was still in the process of reviewing

and considering MPA's estimate on the interior repairs.

        32.     By June 30, 2020, State Farm had still not advised MPA or its insured about the

status of its review or reconsidered MPA's request for a re-irispection to resolve the differences.

        33.     On or about July 1, 2020, the Ecks, through MPA, invoked the appraisal process

under th.e insurance policy to resolve the ongoing disagreements over amounts of the loss.

        34.     On or about July 13, 2020; State Farm rejected the Ecks' request for an appraisal

based on its contentions that the only disagreements were over the scope of the work to be

performed or coverage provided by the policy.

        35.     State Farm made repeated representations to MPA that it was reviewing and

revising its original estimate but failed to actually do so.

        36.     Despite having EFW's invoice for the roof repairs, Miller's estitnate, the

contractor's estimate, an email froin the City of Racine building inspector, and other inforination

and documentation suggesting the cost of the roof repair was more than what State Farin had

paid, State Farm reftised to allow the Ecks to resolve these differences through appraisal.

        37.     And, despite having all the above information, on July 30, 2020, State Farm

demanded, "revised doctimentation such as an estiinate showing no differences in scope with line-




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        by-line pricing details for each item on the estimate that is in dispute" in order to "reconsider" the

        Ecks' request for appraisal.

                38.    There is and was a disagreement between the parties about the cost of roof repairs

        and other expenses necessary to bring the property back to its pre-loss condition wllich are

        contained in the various estimates, invoices and proposals that have been exchanged by the parties

    "   and/or the parties' representatives, including State Farm's estimate, Miller's estiinate, Great Lakes

        Roofing's proposal, subcontractor proposals, EFW's invoice, architect and engineer reports, and

        emails from the City of Racine building inspector.

               39.     State Farm had ample arid sufficient notice of these disagreements and differences

        yet still refused to allow the appraisal process to move forward.

                40.    State Farm has effectively prevented the claim froin progressing absent any otlier

        procedure to resolve these disagreements and differences.

                41.    Moreover, at best, State Farm r.esolved an uncertainty in its investigation and

        coverages—i.e., the necessity of building code compliance and replaceinent of insulation—against its

        insured without conducting a complete and thorough investigation, including a joint inspection of

        the residence and/or a tneeting with the City of Racine Building Inspector on site to determine

        whether these claimed expenses were necessary as a result of a covered loss.

               42.     Upon information and belief, the City of Racine Building Inspector has required

        that a building permit be pulled in order for the Ecks to complete the interior repairs to their

        residence.

               43.     Upon information and belief, the City of Racine Building Inspector required that

        the insulation be removed and replaced with code-conipliant insulation.




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         44.   As a result, the Ecks have or will incur significant additional expenses arising out of

a covered loss for which State Farm refuses to issue payment.

         45.    State Farm's refusal to cover these additional expenses arising out of the covered

loss is a breach of the insurance policy.

         46.    State Farm's refusal to allow a joint inspection of the property and to conduct a

complete and thorough investigation of the loss is a breach of the insurance policy.'

         47.    State Farm's refusal to allow the Ecks to resolve a disagreement iri the amount of

the loss through the appraisal process is a breach of the insurance policy.

         48.    To date, State Farm has refiised to issue additional payments consistent with MPA's

estimate or the claim support submitted by its insured, includirig atly amounts for contents or

personal property dainage, additional amounts for code compliance issues, additio'tial amounts for

mechanicals, or other amounts submitted to State Farm for payment.

         49.    At all relevant times, the Ecks have ftilly cooperated aiid complied with State Farm

by notifying it of the loss, providing information about the history and condition',of the property,

providing access to the property for inspections, subinitting estimates, proposals, invoices and

other support for the claim, and prudently working to resolve disagreements over the value of the

claim.

         50.    State Farin, on the other hand, has repeatedly refused to con'sider iinportant

information to determine the full and true value of the insurance claim, has denied the Ecks' their

contracnial right to an appraisal, and has overall offered an amount that is substantially less that

what the Ecks are entitled to recover under the policy.




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       51.     To date, the Ecks have been unable to return to their home and the necessary

repairs have not been completed.

                    FIRST CAiJSE OF ACTION - BREACH OF CONTRACT

       52.     The insurance policy was and is a valid and binding contact between the parties.

       53.     The Ecks substantially complied with all terms and conditions of tlie policy with

respect to the subject insurance claim.

       54.     Despite the Ecks' cooperation and compliance, State Farm and/or its authorized

agents breached the policy by failing to, among other things:

               a.      Properly and timely adjust the claim;

               b.      Conduct a diligerit investigation;

               C.      Relay accurate information concerning the terms and conditlons of the
                       policy;

               d.      Issue tiinely payment of the underlying claim in aiz appropriate amount to
                       repair the significant property damage and to replace personal property;

               C.      Assist the Ecks' efforts to obtain timely payrnent of the subject insurance
                       claim;

               f.      Acknowledge and indemnify the Ecks for all damage arising out of the loss
                       described above;

               g.      Acknowledge the Ecks' contractual rights under the policy, including for
                       payment of covered losses and an appraisal to resolve disagreements over
                       the amount of a loss;

               h.      Any other acts or omissions to be shown at trial on the merits.

       55.     As a direct and proximate result of State Farm's breach of the policy and non-

compliance with Wiscoizsin laws governing the insurance industry, the Ecks have suffered and will

continue to suffer damages, including but not limited to, those described in this Coxnplaint.




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                         SECOND CAUSE OF AC'I'ION -'BAD FAITH

       56.     By virtue of the policy issued by State Farm to the Ecks, State Farni owed certain

express and implied duties to the Ecks, including but not limited to:

               a.      A duty of good faith and fair dealing;

               b.      A duty to act in the insured's best interests;

               C.      A duty to promptly acknowledge communieations with respect to claims;

               d.      A duty to promptly perform claim investigation services;

               e.      A duty to provide necessary information and instructions to the insured for
                       compliance and submission of claims;

               f.      A duty to attempt in good faith to effectuate a fair and equitable settlement
                       of claims;

               g.      A duty to provide prompt and reasonable explanation of the basis in the
                       policy or applicable law for any delay or denial of benefits;

               h.      A duty to refrain from requiring the insured to initiate a lawsuit to recover
                       ainounts due and owing under the policy;

               i.      A duty to proinptly pay any undisputed or irrefutable loss in a timely
                       fashion; and

               j.      A duty to protnptly represent the terms and conditions of the policy.

       57.     State Farm and/or its attthorized agents breached the terms and condition of the

policy and duties owed to the Ecks by failing or refi.ising to acknowledge the full amount of

dainage to the property as a result of a covered loss and make payinents consistent with that

amount in an effort to bring its insured back to their pre-loss condition.

       58.     State Farm has breached the implied duty of good faith and fair dealing by refusing

to pay those amounts at issue in the subject claim absent ariy reasoiiable proof or basis for the non-

payment.


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          59.   State Farm has failed to proceed in a manner that is honest and informed and has

acted in bad faith.

          60.   As a direct and proxiniate result of State Farni's bad faith, the Ecks are entitled to

recover all benefits due and owing under the policy, all other compensatory or pecuniary losses,

reasonable attorney fees and costs, and punitive damages.

                      THIRD CAUSE OF ACTION - STATUTORY INTEREST

          61.   Wis. Stat. § 628.46 requires every insurer, including State Farm, to promptly pay

every insurance claim within 30 days of notice and an amount.

          62.   Any claim that is not paid within 30 days is overdue.

          63.   State Farm was fiirnished written notice of the loss and any amount on this claim

and has failed to make payment consistent witli the policy.

          64.   To the extent the claim or any portion of the claim is ov.erdue, State Farm is liable

for stanitory interest.

          WHEREFORE, Plaintiffs deinand judgment against Defendant as follows:

          A.     For paytnent of any unpaid portion of the claun as a result of property damage to

covered property as described in this Coinplaint;

          B.     For all other dainage sustained by Plaintiff as a result of Defendant's breach of the

policy;

          C.     For all other contracttial or other benefits due and owing under the policy;

          D.     For statutory interest on any unpaid and/or overdue portion of the claim, pursuant

to Wis. Stat. § 628.46;

          E.     For litigation and im~estigation costs, including reasonable attorney fees;




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           F.     For punitive damages; and

           G.     For all other relief this Court deems just and proper, including the costs and

    disbursements of this proceeding.

                    PLAINTIFFS DEMAND A TRIAL BY JURY OF 12 PERSONS

           Dated this 17"' day of December, 2020.

                                        MAYER, GRAFF & WALLACE LLP


                                        By:    s/ Joshua M. Greatsinger
                                               Joshua M. Greatsinger, SBN: 1094313
                                               Attorneys for Plaintiffs Floyd and Bonnie Eck
    Mailing Address
    142.5 Memorial Drive
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    (800) 465-1031 Facsimile
    jgreatsinger@m,awlawwi.com




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STATE OF WISCONSIN                                              CIRCUIT COURT                                        RACINE          12®17-2020
                                                                                                                                     Cierk of Circuit Court
Floyd Eck et al vs. State Farm Fire and Casualty Company Electronic Filing                                                           Racine County
                                                                                                   Notice
                                                                                                                                     202®Cv001482
                                                   Case No. 2020CV001482                                                             I-lonorable Eugene A.
                                                   Class Code: Other-Contract                                                        Gasiorkiewicz
                                                                                                                                     13ranch 2



                                STATE FARM FIRE AND CASUALTY COMPANY
                                C/O CORPORATION SERVICE CO.
                                8040 EXCELSIOR DRIVE, SUITE 400
                                MADISON WI 53717




                Case number 2020CV001482 was electronically filed with/converted by the Racine County
                Circuit Court office. The electronic filing system is designed to allow for fast, reliabte exchang4
                of documents in court cases.
                                                                                                                                      ..~.
                Parties who register as electronic parties can file, receive and view docu►rlents online through
                the court electronic filing website. A document filed electrorlically has the, samerlegal effect as
                a document filed by traditional means. Electronic parties are responsible ror serving
                non-electronic parties by traditional means.

                You may also register as an electronic party by following t4e instructions found at
                http://efiling.wicourts.gov/ and may withdravu as an electronic party at any time. There is a
                $20.00 fee to register as an ~(ectronic party.                                0

                If you are not represented by an attorney and would like to register an electronic party, you
                will need to enter the following code on the eFiling website while opting in as an electronic
                party.    ~      It            4w
                                                   -
                Pro Se opt-in code: 035,fc6

                Unless you register as an electronic party, you will be served with traditional paper documents
                by other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                262-636-3333.

                                                                                   Racine County Circuit Court
                                                                                   Date: December 17, 2020




                             Case 2:21-cv-00097-SCD Filed 01/22/21 Page 21 of 23 Document§801.18(5)(d),
GF-180(CCAP), 06/2017 Electronic Filing Notice
                                                                                          1             Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
        EXHIBIT B




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STATE OF WISCONSIN            CIRCUIT COURT           RACINE COUNTY


Floyd Eck and Bonnie Eck,                             )
                                                      )
                                                      )
                              Plaintiffs,             )     Case No. 2020-CV-1482
                                                      )
v.                                                    )
                                                      )
State Farm Fire and Casualty Company,                 )
                                                      )
                              Defendant.              )



                    NOTICE OF FILING OF NOTICE OF REMOVAL


       Please take notice that on January 20, 2021, Defendant State Farm Fire and Casualty

Company caused removal of this action to the United States District Court for the Eastern District

of Wisconsin. A copy of the Notice of Removal is attached hereto as Exhibit A.

       This Notice is being provided pursuant to 28 U.S.C. § 1446(d).

       Dated this 22nd day of January 2021.

                                              MEISSNER TIERNEY FISHER & NICHOLS S.C.
                                              By: /s/Mark D. Malloy
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